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  8                        UNITED STATES DISTRICT COURT
  9                      SOUTHERN DISTRICT OF CALIFORNIA
 10   UNITED STATES OF AMERICA,                     CASE NO. 3:13-cr-0492-GPC
 11                                  Plaintiff,     ORDER DENYING DEFENDANT’S
             v.                                     MOTION TO MODIFY SENTENCE
 12
                                                    [ECF No. 654]
 13
      JAMES CHEEVERS (12),
 14
                                   Defendant.
 15
 16         On January 8, 2015, Defendant James Cheevers (“Defendant”), proceeding pro
 17 se, filed a letter that the Court construes as a motion to modify his sentence. (ECF No.
 18 654.) On February 18, 2014, Defendant pled guilty to a Superseding Information
 19 charging him with conspiracy to distribute controlled substances in violation of 21
 20 U.S.C. §§ 841(a)(1) and 846. (ECF No. 363.) On May 16, 2014, Defendant was
 21 sentenced to 105 months in custody to run consecutively to his state court sentence.
 22 (ECF No. 483.) In the instant motion, Defendant requests that the Court modify his
 23 sentence to run prior to his state court sentence. (ECF No. 654.)
 24         Defendant alleges that he was unable to contact his counsel so that he could
 25 dispute alleged falsehoods in his pre-sentence report. (ECF No. 654.) However,
 26 Defendant has already filed an ineffective assistance of counsel claim which this court
 27 previously denied and Defendant does not offer any new evidence that would alter that
 28 decision. (See ECF No. 639.) Though Defendant’s request to serve his federal sentence

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  1 first does not appear to challenge the fact or duration of his physical imprisonment, it
  2 does seek immediate release from state custody, albeit so that he can be returned to
  3 such custody at a later date. See Preiser v. Rodriguez, 411 U.S. 475, 500 (1973).
  4 However, Defendant has not alleged that “he is in custody in violation of the
  5 Constitution or laws or treaties of the United States.” See 28 U.S.C. § 2254.
  6 Accordingly, the Court finds that there is no basis to modify Defendant’s sentence.
  7         As this is the third time that Defendant has sent this Court a post-sentence letter,
  8 (see ECF Nos. 524, 541, 654), the Court reminds Defendant that letters to the Court are
  9 not the proper way to obtain the relief he seeks. If Defendant wishes to challenge the
 10 fact or duration of his state court sentence and seeks immediate release or a speedier
 11 release from state court confinement, the appropriate remedy in federal court is to file
 12 a habeas petition pursuant to 28 U.S.C. § 2254. If Defendant wishes to challenge his
 13 federal court sentence on “the ground that the sentence was imposed in violation of the
 14 Constitution or laws of the United States, or that the court was without jurisdiction to
 15 impose such sentence, or that the sentence was in excess of the maximum authorized
 16 by law, or is otherwise subject to collateral attack,” the proper remedy is to file a
 17 habeas petition pursuant to 28 U.S.C. § 2255. If Defendant wishes to challenge the
 18 conditions of his confinement, such as which facility he is detained at or access to
 19 detention facility programs including a law library or medical care, the proper remedy
 20 is to file a complaint pursuant to 42 U.S.C. § 1983. McCarthy v. Bronson, 500 U.S.
 21 136, 141–42 (1991); Preiser, 411 U.S. at 499; Badea v. Cox, 931 F.2d 573, 574 (9th
 22 Cir. 1991).
 23         As a final matter, the Court notes that, even if Plaintiff’s request were granted,
 24 transfer to the Metropolitan Correctional Center, San Diego (the “M.C.C.”) would be
 25 unlikely. The M.C.C. generally houses pre-sentence inmates or inmates serving brief
 26 sentences. Post-sentence inmates serving significant sentences, such as Defendant, are
 27 unlikely to be housed at the M.C.C. Rather, they generally serve their sentences at other
 28 Federal Bureau of Prisons (“BOP”) facilities. While this Court recommended that

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  1 Defendant serve his sentence at a BOP facility in the Western Region, (see ECF No.
  2 486), BOP is not required to follow that recommendation and Defendant could serve
  3 his sentence anywhere in the United States. Moreover, even if BOP followed the
  4 Court’s recommendation, the Western Region includes facilities far from San Diego,
  5 including facilities in Arizona and northern California. See FEDERAL BUREAU OF
  6 PRISONS:        WESTERN         REGIONAL         OFFICE,       available           at
  7 http://www.bop.gov/locations/regional_offices/wxro/.
  8        For the foregoing reasons, the Court DENIES Defendant’s motion to modify
  9 sentence, (ECF No. 654).
 10        IT IS SO ORDERED.
 11 DATED: January 8, 2015
 12
 13                                        HON. GONZALO P. CURIEL
                                           United States District Judge
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